      Case 1:18-cv-00068 Document 239 Filed in TXSD on 07/24/18 Page 1 of 4



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                               BROWNSVILLE DIVISION

STATE OF TEXAS, et al.,                        §
                                               §
               Plaintiffs,                     §
                                               §
       v.                                      §   Case No. 1:18-CV-68
                                               §
UNITED STATES OF AMERICA, et al.,              §
                                               §
               Defendants,                     §
                                               §
and                                            §
                                               §
KARLA PEREZ, et al.,                           §
                                               §
               Defendant-Intervenors,          §
                                               §
and                                            §
                                               §
STATE OF NEW JERSEY,                           §
                                               §
               Defendant-Intervenor.           §


                  PEREZ DEFENDANT INTERVENORS’ SECOND
              REPLY IN SUPPORT OF RENEWED DISCOVERY MOTIONS

       Defendant Intervenors Karla Perez, et al. (Defendant Intervenors) file this second Reply

in support of their motions to Present Their Witness Stephen Legomsky (Dkt. 138) and for Leave

to Depose Mr. Michael Knowles (Dkt. 137 and Dkt. 91).

                                  STATEMENT OF THE ISSUES

       1. Whether Plaintiffs may present the declaration testimony of their witness Mr.

            Legomsky, who is a former federal employee and thus requires an order from this

            Court to permit his testimony. Mr. Legomsky’s testimony will rebut assertions made
     Case 1:18-cv-00068 Document 239 Filed in TXSD on 07/24/18 Page 2 of 4



            by Plaintiffs’ witness Kenneth Palinkas in the declaration filed by Plaintiffs in support

            of their preliminary injunction motion.

       2. Whether Plaintiffs may take a third-party deposition of Mr. Michael Knowles, current

            President of the USCIS union. Mr. Knowles will testify in response to assertions

            made by Plaintiffs’ witness Kenneth Palinkas in the declaration filed by Plaintiffs in

            support of their preliminary injunction motion.

       In the week since Defendant Intervenors filed their first Reply (Dkt. 165) in support of

their motions to present their expert Stephen Legomsky and to take the deposition of USCIS

union president Michael Knowles, Plaintiffs Texas et al. have responded that they “take no

position regarding Defendant-Intervenors’ renewed request to present Stephen Legomsky as an

expert witness and to depose the president of the USCIS union, Michael Knowles” but argue that

the discovery “should not cause a delay in the briefing schedule on Plaintiff States’ motion for a

preliminary injunction.” Dkt. 189. Federal Defendants have not filed an additional response.

See Dkt. 139 for Federal Defendants’ initial response to which Defendant Intervenors replied in

Dkt. 165.

       Defendant Intervenors do not seek discovery of the Federal Defendants in these two

remaining discovery motions. The Court’s gatekeeping function, discussed in its Order of May

30, 2018, is not implicated here. See Dkt. 53 (“Any party who wishes to seek discovery from

Federal Defendants . . . must seek leave from the Court to do so.”).

       On the contrary, Defendant Intervenors seek to present their own witness, Mr. Stephen

Legomsky, and seek to take a deposition of a third party, the current USCIS union president.




                                                  2
     Case 1:18-cv-00068 Document 239 Filed in TXSD on 07/24/18 Page 3 of 4



       For the reasons explained in Dkt. 165 and incorporated by reference here, Defendant

Intervenors have satisfied all requirements of this Court and should be allowed to present witness

testimony necessary to their response to Plaintiffs’ preliminary injunction motion.

Dated: July 24, 2018                                 Respectfully Submitted,

                                                     MEXICAN AMERICAN LEGAL
                                                     DEFENSE AND EDUCATIONAL FUND
                                                     By: /s/ Nina Perales
                                                     Nina Perales (Tex. Bar No. 24005046);
                                                     (SD of Tex. Bar No. 21127)
                                                     Attorney-in-Charge
                                                     Celina Moreno (Tex. Bar No. 24074754)
                                                     (SD of Tex. Bar No. 2867694)
                                                     Jack Salmon (Tex. Bar No. 24068914)
                                                     (SD of Texas Bar No. 1130532)
                                                     Alejandra Ávila (Tex. Bar No. 24089252)
                                                     (SD of Tex. Bar No. 2677912)
                                                     Ernest I. Herrera (Tex. Bar No. 24094718);
                                                     (SD of Tex. Bar No. 2462211)
                                                     110 Broadway, Suite 300
                                                     San Antonio, Texas 78205
                                                     Phone: (210) 224-5476
                                                     Facsimile: (210) 224-5382
                                                     Email: nperales@maldef.org

                                                     Denise Hulett
                                                     Mexican American Legal Defense and
                                                     Educational Fund
                                                     1512 14th Street
                                                     Sacramento, CA 95814
                                                     Phone: (916) 444-3031
                                                     Email: dhulett@maldef.org
                                                     (Admitted pro hac vice)

                                                     Priscila Orta
                                                     Mexican American Legal Defense and
                                                     Educational Fund
                                                     11 East Adams, Suite 700
                                                     Chicago, IL 60603
                                                     Tel: (312) 427-0701
                                                     Email: porta@maldef.org
                                                     (Admitted pro hac vice)


                                                3
     Case 1:18-cv-00068 Document 239 Filed in TXSD on 07/24/18 Page 4 of 4



                                                         ROPES & GRAY LLP
                                                         Douglas H. Hallward-Driemeier
                                                         2099 Pennsylvania Ave NW
                                                         Washington, DC 20006-6807
                                                         (202) 508-4600
                                                         (202) 508-4776 (direct dial)
                                                         Douglas.Hallward-
                                                         Driemeier@ropesgray.com
                                                         (Admitted pro hac vice)

                                                         GARCÍA & GARCÍA,
                                                         ATTORNEYS AT LAW P.L.L.C.
                                                         Carlos Moctezuma García
                                                         (Tex. Bar No. 24065265)
                                                         (SD of Tex. Bar No. 1081768)
                                                         P.O. Box 4545
                                                         McAllen, TX 78502
                                                         Phone: (956) 630-3889
                                                         Facsimile: (956) 630-3899
                                                         Email: cgarcia@garciagarcialaw.com

                                                         Attorneys for Defendant-Intervenors




                                 CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that, on the 24th day of July, 2018, I electronically filed

the above and foregoing document using the CM/ECF system, which automatically sends notice

and a copy of the filing to all counsel of record.


                                                         /s/ Nina Perales
                                                         Nina Perales




                                                     4
